                                                                              Motion is GRANTED.
                                                                              Revocation hearing RESET for
                                                                              9/22/14 at 2:30 p.m.

                             UNITED STATES DISTRICT COURT

                       FOR THE MIDDLE DISTRICT OF TENNESSEE

                                     NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )       No. 3:07-00223
       v.                                     )       Judge Trauger
                                              )
REGGIE K. JACKSON                             )

                     MOTION TO CONTINUE REVOCATION HEARING

       Comes the defendant and hereby moves the Court to continue the revocation hearing

currently set for August 12, 2014.

        In support of this motion, defendant would state and show that the alleged violation in

this case is based on a State arrest of Mr. Jackson. The case has been indicted and is pending in

Circuit Court in Wilson County. That case has been continued to September 15, 2014.

Defendant would ask that the revocation hearing be continued until after the state court setting.

       Assistant United States Attorney Brent Hannafan advises that he has no objection to the

requested continuance. Mr. Jackson’s probation officer reports that he is otherwise in

compliance with his conditions.

                                            Respectfully submitted,


                                            s/ Sumter L. Camp
                                            SUMTER L. CAMP
                                            Assistant Federal Public Defender
                                            Attorney for Defendant
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